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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION




IN RE GEORGIA SENATE BILL 202                           Master Case No.

                                                       1:21-MI-55555-JPB



SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, a
Georgia nonprofit organization, et al.

          Plaintiffs,                                       Case No.
VS.                                                    1:21-cv-01284-JPB
BRIAN KEMP, Governor of the State of
Georgia in his official capacity, et al.,
          Defendants.



                                   CERTIFICATE OF SERVICE

                  NOTICE OF RULE 30(b)(6) DEPOSITION OF THE
                      GEORGIA STATE ELECTION BOARD




CERTIFICATE OF SERVICE
PLAINTIFFS’ NOTICE OF RULE 30(B)(6) DEPOSITION   1           Case No. 1:21-MI-55555-JPB

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                 CERTIFICATE OF SERVICE AND COMPLIANCE

        I hereby certify that on February 28, 2023, I caused to be served the AME

Plaintiffs’ Notice of Rule 30(b)(6) Deposition of the Georgia State Election Board

by electronic mail on counsel for the defendants and intervenor defendants. I

further certify pursuant to Local Rule 7.1(D) that the foregoing document was

prepared in Times New Roman 14-point font in compliance with Local Rule

5.1(C).

                                                 /s/ Adam S. Sieff
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CERTIFICATE OF SERVICE
PLAINTIFFS’ NOTICE OF RULE 30(B)(6) DEPOSITION     2                     Case No. 1:21-MI-55555-JPB

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